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                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                    MIDLAND-ODESSA DIVISION

                                                            §
ROY PRUITT,                                                 § C.A. No. MO:22-CV-00151-DC-RCG
                                                            §
                           Plaintiff,                       §
                                                            § JURY TRIAL DEMANDED
v.                                                          §
                                                            §
FAB TECH DOWNHOLE, LLC and                                  §
SHANNON D. COAN                                             §
                                                            §
                           Defendants.                      §
                                                            §
                                                            §

                  PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES AND COSTS

             Plaintiff Roy Pruitt files his Motion for Attorneys’ Fees and Costs (“Motion”) as authorized

     by Federal Rule of Civil Procedure 54(d)(2)(B), and will respectfully show that he is entitled to recover

     his lodestar of $85,252.50, in addition to his incurred costs and expenses of $3,191.52.

     I.      INTRODUCTION

             Plaintiff Roy Pruitt sued Defendants Fab Tech Downhole, LLC and Shannon D. Coan for

     violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201–19 (“FLSA”), alleging they jointly

     misclassified him as an independent contractor and failed to pay him the overtime compensation they

     owed him. After the close of discovery, Plaintiff filed his dispositive motion against Defendants. See

     ECF No. 22. Defendants failed to file a response. On October 12, 2023, this Court granted Plaintiff’s

     motion, in part, and conditionally denied it, in part, while requesting additional briefing. See ECF No.

     26. Plaintiff accordingly filed his supplemental brief on October 19, 2023, and Defendants filed a

     response. See ECF Nos. 27–28, respectively. On January 5, 2024, this Court entered an order

     GRANTING Plaintiff’s motion for summary judgment, finding him entitled to judgment as a matter



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of law. See ECF No. 40. Final Judgment issued for Plaintiff, entitling him to $92,434.95 in damages

against Defendants, jointly and severally. See ECF No. 41.

        Plaintiff’s counsel now seeks reasonable attorneys’ fees and costs under 29 U.S.C. § 216(b)

and governing law.

II.     ARGUMENT & AUTHORITIES

        A.      PLAINTIFF IS ENTITLED TO RECOVER HIS REASONABLE ATTORNEYS’ FEES

         “Reasonable attorney's fees are mandatory” when a court finds that an employer has violated

the FLSA. Steele v. Leasing Enterprises, Ltd., 826 F.3d 237, 249 (5th Cir. 2016) (quoting Weisel v. Singapore

Joint Venture, Inc., 602 F.2d 1185, 1191 n.18 (5th Cir. 1979) and 29 U.S.C. § 216(b)). “There is a strong

presumption that the lodestar figure represents reasonable attorney fees.” Hobbs v. Petroplex Pipe &

Constr., Inc., No. MO:17-CV-00030-DC, 2019 WL 13079781, at *1 (W.D. Tex. May 23, 2019) (citing

Perdue v. Kenny A., 559 U.S. 542, 553–54 (2010). The lodestar figure is reached after multiplying the

“number of hours reasonably expended by an appropriate hourly rate in the community for such

work.” Id. (citing Singer v. City of Waco, 324 F.3d 813, 829 (5th Cir. 2003)). Plaintiff, as the party seeking

to recover attorneys’ fees, bears the burden to establish “the number of hours expended through the

presentation of adequately recorded time records as evidence.” Id. (citing Watkins v. Fordice, 7 F.3d

453, 457 (5th Cir. 1993)). Any time that is “excessive, duplicative, unnecessary, or inadequately

documented” will be excluded by the Court. See id.

        Once the lodestar is determined, courts can “(1) accept the lodestar figure; or (2) decrease or

enhance it based on the circumstances of the case, taking into account what are referred to as the

Johnson factors.” Id. (citing La. Power & Light Co. v. Kellstrom, 50 F.3d 319, 324, 329 (5th Cir. 1995);

Johnson v. Ga. Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974)).

        The Johnson factors are: (1) the time and labor required; (2) the novelty and difficulty
        of the legal issues; (3) the skill required to perform the legal service properly; (4) the
        preclusion of other employment by the attorney as a result of taking the case; (5) the
        customary fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed
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        by the client or other circumstances; (8) the monetary amount involved and the results
        obtained; (9) the experience, reputation, and ability of the attorneys; (10) whether the
        case is undesirable; (11) the nature and duration of the professional relationship with
        the client; and (12) awards in similar cases.

Id. However, the lodestar is presumed to be reasonable and should only be modified in exceptional

cases. Id.

        B.      THE LODESTAR

        To determine the recoverable fees, the first step is to calculate a lodestar amount by multiplying

the number of hours reasonably expended on the litigation by the reasonable hourly rate, which is the

market rate in the community “for similar services by lawyers of reasonably comparable skill,

experience, and reputation.” Blum v. Stenson, 465 U.S. 886, 895-96 (1984); McClain v. Lufkin Indus., Inc.,

519 F.3d 264, 284 (5th Cir. 2008); Black v. SettlePou, P.C., 732 F.3d 492, 502 (5th Cir. 2013). Satisfactory

evidence of the reasonableness of the rate includes an affidavit of the attorney performing the work

and information of rates actually billed and paid in similar lawsuits. Blum, 465 U.S. at 896 n. 11.

                1.      Number of Hours Expended

        Here, Plaintiff’s Counsel spent over 169 hours of attorney time during the pendency of the

litigation. Though recoverable, Plaintiff has not submitted any paralegal time. The decision not to

submit paralegal time was made in the exercise of billing judgment by Plaintiff’s counsel. Accordingly,

Plaintiff respectfully requests fees of $85,232.50 for the valuable work his counsel performed in

obtaining 100% of Plaintiff’s available damages.

        The time expended was reasonable and necessary and does not include time billed on matters

for which Plaintiff was not successful. See Declaration of Carter Hastings, attached as Exhibit 1. To

aid this Court in its determination, Plaintiff has submitted the detailed billing records detailing the

time spent on this matter. See Exhibit A to Exhibit 1.




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        2.       Reasonableness of Billing Rates

        Plaintiff’s Counsel specialize in wage and hour law. See Exhibit 1. As such, Plaintiff’s Counsel

litigates individual, collective, and mass actions across the United States. See id. Their rates range from

$650.00 an hour to $450.00 an hour, are reasonable, have been previously approved by district courts

in this District, and are well within the range of rates regularly approved in the Western District of

Texas. See id. (detailing the background and experience of the attorneys who have provided services

in this matter); Navarro v. Marriott Int’l, Inc., No. SA-20-cv-00766-OLG, ECF Nos. 44 and 37 (W.D.

Tex. Jan. 11, 2023) (approving requested fees at the same rates as requested herein) (attached together

as Exhibit 2). See also Texas Yearbook for Attorneys’ Fees and Hourly Rates by the Texas Employment

Lawyers Association (2022 ed.) (“2022 Yearbook”), attached as Exhibit 3.1

        In analyzing whether the requested rates are reasonable, district courts look to the relevant

community for comparators. The Fifth Circuit has long recognized that the relevant community for

fees is determined district-wide—not by city or division. See Lewallen v. City of Beaumont, 394 F. App'x

38, 46, and n.26 (5th Cir. 2010) (approving the “relevant legal community as the Eastern District of

Texas, rather than just the City of Beaumont”). Other courts have also blessed a judicial district as the

relevant market. See, e.g., Jimenez v. Wood County, Texas, 2009 WL 2744611 at *3 (E.D. Tex. Aug.25,

2009); McClain v. Lufkin Indus., Inc., 2009 WL 921436 at *6 (E.D. Tex. Apr.2, 2009); see also League of

United Latin Am. Citizens No. 4552 (LULAC) v. Roscoe Ind. Sch. Dist., 119 F.3d 1228, 1234 n. 5 (5th



        1   This information contained in the 2022 Yearbook “is drawn from court rulings, jury verdicts,
arbitrations, and actual rates billed. Unlike summaries of anonymous surveys, it names the lawyers and cites
sources. To compare quantity of experience, it is grouped by ten-year classes—like a yearbook groups classes
from seniors to freshmen. It is organized by geographic regions corresponding with the four federal districts in
Texas. It accounts for inflation to the end of 2021 via the U.S. Bureau of Labor Statistics’ data for legal services.
The information is limited to employment law work in Texas. See 2022 Yearbook, Part 1, p. 4. The section
specifically addressing rates in the Western District of Texas begins on Page 60 of Part 2. Citations to page
number refer to the page number allocated by the electronic filing system.


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Cir.1997) (Although the court did not rely on the affidavits used by LULAC in this case to define the

relevant market as the federal district, it did not disclaim the affidavits.); Treadway v. Otero, No. 2:19-

CV-244, ECF No. 157 at p. 9 (S.D. Tex. Oct. 6, 2020) (citing cases and concluding: “When it comes

to parsing between divisions, it appears that it is the district, rather than the division, that should

govern the decision.”).

         The reasonableness of Plaintiff’s Counsel’s rate is not in question as Judge Orlando L. Garcia

of the San Antonio Division of the Western District of Texas has previously approved Plaintiff’s

Counsel’s requested rates after finding them to be reasonable. See Exhibit 2. Plaintiff’s Counsel has

also submitted the 2022 Yearbook that provides an overview of rates that have been approved across

Texas, divided by district. Looking at the Western District of Texas specifically, rates have been

approved ranging from $927.00 on the high end, to $260.00, on the low end.2 See 2022 Yearbook, Part

2, pg.61. Because Plaintiff’s Counsel’s requested rates are will within the range of reasonable rates for

the Western District of Texas, they should be approved in this case. See Blum, 465 U.S. at 896 n. 11.

         As such, the applicable lodestar in this matter is $85,232.50.

         C.       The Johnson Factors Support Awarding Plaintiff’s Requested Lodestar

         Next, the Court turns to the Johnson factors to decide whether a departure from the lodestar

figure is warranted in this case.3 Hobbs, 2019 WL 13079781, at *7. Plaintiff maintains that no upward,

or downward, departure is necessary.




         2
            Some district courts have relied on the State Bar of Texas 2015 Hourly Fact Sheet (“2015 Fact Sheet”).
Plaintiff notes that the 2015 Fact Sheet is now almost a decade out of date and has failed to account for increased rates
or inflationary changes. The 2022 Yearbook, however, provides an updated review of the rates regularly charged and
approved by employment law practitioners in the State of Texas, and is adjusted for inflation. Importantly, all of the
rates reported in the 2022 Yearbook are verified—and verifiable. See 2022 Yearbook, Part 1, pg. 4.
         3
            As Plaintiff already addressed Johnson factors 1, 5, and 12 in establishing the lodestar, this section will not
burden the court with the unnecessary duplication of that analysis.
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                1.      The Novelty and Difficulty of the Legal Issues and the Desirability of
                        the Case.

        The legal issues involved in this case were complex as they involved claims that Defendants,

jointly and severally, misclassified Plaintiff as an independent contractor exempt from the protections

of the FLSA. Not only did Plaintiff have to establish that he was misclassified through the application

of the economic realities test, he also had to establish that Defendants were together joint employers.

These claims are inherently fact intensive and difficult to establish as a matter of law. That difficulty

was compounded by Plaintiff’s realization that Defendant Fab Tech Downhole, LLC ceased

operations after Plaintiff filed this lawsuit and Defendant Coan began operating under a different

entity. As such, this factor supports the requested fee award.

                2.      The Skill Required to Perform the Legal Service Properly and the
                        Experience, Reputation, and Ability of Plaintiff’s Counsel.

        In cases involving complex legal issues, like this one, experienced counsel have the requisite

skill and knowledge to successfully raise and litigate each issue necessary to obtain a successful

judgment. Plaintiff’s Counsel are experienced wage and hour litigators and specialize in helping

employees recover their unpaid wages in courts across the United States. Founded in 2016, Anderson

Alexander, PLLC has represented hundreds of thousands of employees in individual actions and

collective and class actions and is well versed in maximizing employee rights. See Exhibit 1. This factor

supports the requested fee award.

                3.      The Preclusion of Other Employment by the Attorney as a Result of
                        Taking the Case.

        Anderson Alexander, PLLC is a small firm with its principal office in Corpus Christi, Texas.

See Exhibit 1. The attorneys at Anderson Alexander, PLLC are unable to represent all of the employees

who contact them seeking assistance and must reject viable cases. See id. ¶ 16. In choosing to represent

Plaintiff, Anderson Alexander, PLLC was unable to accept other promising cases. Id. This factor, too,

supports the requested fee award.
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                4.       Whether the Fee Is Fixed or Contingent.

        The attorney-client contract between Anderson Alexander, PLLC and Plaintiff Pruitt,

provided for representation on a contingent fee basis. Id. at ¶ 17. Anderson Alexander, PLLC agreed

to cover all case expenses and litigation costs without any guarantee of repayment. The contingent

nature of the agreement between Plaintiff and his counsel supports the requested fee award.

                5.      Time Limitations Imposed by the Client or Other Circumstances.

        Beyond the time constraints imposed by the FLSA, there were no other limitations imposed

by the client or other circumstances. As such, this factor is neutral.

                6.      The Monetary Amount Involved and the Results Obtained.

        The “most critical factor” in determining the reasonableness of a fee award “is the degree of

success obtained.” Farrar v. Hobby, 506 U.S. 103, 574 (1992). Here, Plaintiff has obtained a judgment

for 100% of his damages. This exceptional result supports the requested fee award.

                7.      The Nature and Duration of the Professional Relationship with the
                        Client.

        Plaintiff’s Counsel’s representation of Plaintiff Pruitt is limited to assisting him recover his

unpaid wages against Defendants. As such, this factor is neutral.

        Taken together, the Johnson factors support Plaintiff’s requested fee award.

        D.      PLAINTIFF IS ENTITLED TO RECOVER HIS COSTS AND EXPENSES

        Plaintiff’s Counsel also seeks reimbursement for the $3,191.52 of costs and expenses incurred

during the pendency of this litigation. See Exhibit 1, ¶ 15. These costs and expenses were reasonable,

necessary, and are typically charged by Anderson Alexander, PLLC to its fee-paying clients. See id.

Under the FLSA, district courts “shall . . . allow a reasonable attorney's fee to be paid by the defendant,

and costs of the action.” 29 U.S.C. § 216(b). This Court has previously found that a prevailing plaintiff

under the FLSA may recover their “reasonable out-of-pocket expenses incurred by the attorney which

are normally charged to a fee-paying client, in the course of providing legal services.” Hobbs, 2019 WL
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13079781, at *9 (citing Mata v. Caring for You Home Health, Inc., No. 7:13-CV-287, 2015 WL 12780641,

at *3 (S.D. Tex. May 12, 2015) (allowing the recovery of “reasonable out-of-pocket expenses incurred

by the attorney which are normally charged to a fee-paying client”); Sales v. Bailey, No. 2:12-CV-00056-

SA-SAA, 2015 WL 1825060, at *6 (N.D. Miss. Apr. 22, 2015) (awarding reasonable out-of-pocket

expenses under the FLSA). r (Doc. 120-1 at 12).

III.    CONCLUSION

        Plaintiff has established that he reasonably and necessarily incurred $85,252.50 in fees and

$3,191.52 in costs and expenses, and respectfully requests this Court enter an order finding him

entitled to recover a total of $88,444.02.


Date: January 19, 2024                  Respectfully submitted,

                                        ANDERSON ALEXANDER, PLLC

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2024, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system. Notice of this filing will be sent to all counsel of record by

operation of the Court’s electronic filing system.


                                        /s/ Clif Alexander
                                        Clif Alexander




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